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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                        :        CHAPTER 11
                                              :
GOLDEN TREE, INC.,                            :        CASE NO. 19-62090-sms
                                              :
         DEBTOR.                              :
                                              :
NANCY J. GARGULA,                             :
UNITED STATES TRUSTEE,                        :
                                              :
         MOVANT.                              :
                                              :
-vs-                                          :        CONTESTED MATTER
                                              :
GOLDEN TREE, INC.,                            :
                                              :
         RESPONDENT.                          :

                         MOTION TO DISMISS OR CONVERT CASE

         COMES NOW Nancy J. Gargula, United States Trustee for Region 21, pursuant to 28

U.S.C. § 586(a)(3) and 11 U.S.C. § 1112(b), and respectfully moves this Court to dismiss or

convert this case. In support of this motion, the United States Trustee shows the Court as follows:

                                                  1.

         Debtor GOLDEN TREE, INC. (“Debtor”) filed a voluntary petition for relief under chapter

eleven on August 4, 2019, indicating that it is a corporation.

                                                  2.

         On June 20, 2019, this Court dismissed Debtor’s previous case, 18-62776-sms, for failure

to file operating reports

                                                  3.

         Debtor has not filed its operating report in this case which was due on September 21, 2019.



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                                                 4.

       No attorney has filed an application for employment to serve as Debtor’s counsel. Pursuant

to applicable bankruptcy and federal law, a corporation, partnership, or association may not

proceed pro se in bankruptcy. National Independent Theatre Exhibitors, Inc. v. Buena Vista

Distribution Company, 748 F.2d 602 (11th Cir. 1984), cert. denied, 471 U.S. 1056, 105 S. Ct. 2120

(1985)(corporations); First Amendment Foundation Village of Brookfield, 575 F. Supp. 1207

(N.D. Ill. 1983)(partnerships); Church of the New Testament v. United States of America, 783 F.2d

771 (9th Cir. 1986)(associations). See also Bankruptcy Rule 9010 and the accompanying Advisory

Committee Note.

                                                 5.

       Upon information and belief, Debtor has a monthly secured note payment of approximately

$8,000 which it has not made since February 2018. Consequently, Debtor is so far in arrears that

there is no reasonable likelihood of rehabilitation.

       WHEREFORE, the United States Trustee respectfully requests that this Court dismiss or

convert this case, and grant any other or further relief the Court deems appropriate.

                                                       NANCY J. GARGULA
                                                       UNITED STATES TRUSTEE
                                                       Region 21

                                                       /s/ Thomas W. Dworschak
                                                       THOMAS W. DWORSCHAK
                                                       Georgia Bar No. 236380
                                                       United States Department of Justice
                                                       Office of the United States Trustee
                                                       Suite 362, Richard B. Russell Building
                                                       75 Ted Turner Drive, SW
                                                       Atlanta, Georgia 30303
                                                       (404) 331-4437, ext. 145
                                                       Thomas.w.Dworschak@usdoj.gov



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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                        :       CHAPTER 11
                                              :
GOLDEN TREE, INC.,                            :       CASE NO. 19-62090-sms
                                              :
         DEBTOR.                              :
                                              :
NANCY J. GARGULA,                             :
UNITED STATES TRUSTEE,                        :
                                              :
         MOVANT.                              :
                                              :
-vs-                                          :       CONTESTED MATTER
                                              :
GOLDEN TREE, INC.,                            :
                                              :
         RESPONDENT.                          :

                                    NOTICE OF HEARING

      PLEASE TAKE NOTICE that the United States Trustee has filed a Motion to Dismiss or
Convert.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the United
States Trustee’s Motion in Courtroom 1201, United States Courthouse, 75 Ted Turner Drive,
S.W., Atlanta, Georgia at 10:30 AM on Wednesday, October 23, 2019.

        Your rights may be affected by the court’s ruling on this pleading. You should read the
motion carefully and discuss it with your attorney, if you have one in this bankruptcy case. (If you
do not have an attorney, you may wish to consult one.) If you do not want the court to grant the
relief sought in the motion or if you want the Court to consider your views, then you or your
attorney must attend the hearing.

         You may also file a written response to the motion with the Clerk of the Bankruptcy Court,
but you are not required to do so. Mail or deliver your response so that it is received by the Clerk
at least two business days before the hearing. The address of the Clerk’s office is Clerk, United
States Bankruptcy Court, Suite 1340, Richard Russell Building, 75 Ted Turner Drive, SW, Atlanta,
Georgia 30303. If you file a written response, you must attach a certificate stating when, how, and
on whom (including addresses) you served the response. You must mail a copy of your response
to the Office of the United States Trustee at Suite 362, Richard Russell Building, 75 Ted Turner
Drive, S.W., Atlanta, Georgia 30303.



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Date: October 3, 2019

                                                        Prepared and Served by:

                                                        /s/ Thomas W. Dworschak
                                                        Thomas W. Dworschak, Trial Attorney
                                                        Georgia Bar No. 236380
United States Department of Justice
Office of the United States Trustee
Suite 362, Richard Russell Building
75 Ted Turner Drive, S.W
Atlanta, Georgia 30303
404-331-4437, ext. 145
Thomas.W.Dworschak@USDOJ.gov


                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 3, 2019, I caused a true and correct copy of the Motion to

Dismiss or Convert and Notice of Hearing (Doc. No. 14) to be served by depositing a copy of same

in the United States Mail, first class, with adequate postage affixed thereto to ensure delivery to

parties as listed on the attached mailing matrix.

       This 3rd day of October, 2019.

                                                        /s Thomas W. Dworschak




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Label Matrix forCase    19-62090-sms
                  local noticing             Doc 14
                                                  EckhartFiled  10/03/19 Entered 10/03/19 13:43:45
                                                           Blackert                       DeKalb County Desc Main
113E-1                                                 Document
                                                  Mills & Hoopes, LLC  Page 5 of 5        4380 Memorial Dr Ste 100
Case 19-62090-sms                                    Suite 130                                            Decatur, GA 30032-1239
Northern District of Georgia                         1550 North Brown Road
Atlanta                                              Lawrenceville, GA 30043-8154
Thu Oct 3 09:50:19 EDT 2019
DeKalb County Water & Sewer                          Thomas Wayne Dworschak                               Golden Tree, Inc.
774 Jordan Ln Ste 200                                Office of the U. S. Trustee                          300 Scioto Ct
Decatur, GA 30033-5700                               Room 362                                             Duluth, GA 30097-2053
                                                     75 Ted Turner Drive, SW
                                                     Atlanta, GA 30303-3330

Internal Revenue Service                             Jong S. Kim                                          Michael Pmphrey
P. O. Box 7346                                       c/o Greg Golden                                      c/o The Zagoria Law Firm, LLC
Philadelphia, PA 19101-7346                          3490 Piedmont Road One Securities Ctr #              2801 Buford Hwy NE Ste T25
                                                     Atlanta, GA 30301                                    Atlanta, GA 30329-2142


Nancy Stein                                          Kennon Peebles Jr.                                   Saehan Bank
c/o Mark D. Welsh                                    Law Office of Kennon Peebles, Jr.                    SBA Department
2600 Century Pkwy NE Ste 100                         3296 Summit Ridge Pkwy                               3580 Wilshire Blvd Ste 1500
Atlanta, GA 30345-3104                               Suite 1720                                           Los Angeles, CA 90010-2516
                                                     Duluth, GA 30096-1626

Secretary of the Treasury                            Siasim Redan, LLC                                    Siasim Redan, LLC
15th & Pennsylvania Avenue, NW                       c/o Mills & Hoopes, LLC                              c/o Mills & Hoopes, LLC
Washington, DC 20200                                 1550 North Brown Road                                1550 N Brown Rd Ste 130
                                                     Suite 130                                            Lawrenceville, GA 30043-8154
                                                     Lawrenceville, GA 30043-8154

Steven C. Chen                                       U. S. Securities and Exchange Commission             United States Attorney
c/o Mark D. Welsh                                    Office of Reorganization                             Northern District of Georgia
2600 Century Pkwy NE Ste 100                         Suite 900                                            75 Ted Turner Drive SW, Suite 600
Atlanta, GA 30345-3104                               950 East Paces Ferry Road, NE                        Atlanta GA 30303-3309
                                                     Atlanta, GA 30326-1382

United States Trustee
362 Richard Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, GA 30303-3315




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Internal Revenue Service                          End of Label Matrix
PO Box 7346                                          Mailable recipients    18
Philadelphia, PA 19101-7346                          Bypassed recipients     1
                                                     Total                  19
